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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  LISA BARBOUNIS,
                                                    Case No. 2:19-cv-05030-JDW
                Plaintiff,

                        v.

  THE MIDDLE EAST FORUM, et al.,

                Defendants.

                                              ORDER

       AND NOW, this 2nd day of April, 2021, upon review of the letter from Plaintiff’s Counsel

(ECF No. 116) certifying his compliance with paragraph 8 of this Court’s Order dated December 4,

2020 (ECF No. 85), and upon review of the docket, the Court notes as follows:

       1.      The Court’s December 4 Order required Plaintiff’s Counsel to file a certification “by

the end of the day on December 8, 2020” that he had produced all images and audio files (ECF No.

85, ¶ 1), but Plaintiff’s Counsel did not file the required certification until December 9, 2020 (ECF

No. 88);

       2.      The Court’s December 4 Order required Plaintiff’s Counsel to file a certification “by

the end of the day on December 18, 2020” that he had produced all accessible, responsive Telegram

data (ECF No. 85, ¶ 3), but Plaintiff’s Counsel did not file the required certification until December

22, 2020 (ECF No. 103);

       3.      The Court’s December 4 Order required Plaintiff’s Counsel to file a certification “by

the end of the day on December 18, 2020” that he had re-produced to Defendants unredacted versions

of previously produced documents (ECF No. 85, ¶ 4), but Plaintiff’s Counsel has not filed the

required certification, so the Court cannot determine when or if Plaintiff’s Counsel complied with

this requirement;
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       4.      The Court’s December 4 Order required Plaintiff’s Counsel to “produce the text

message threads that Defendants’ counsel identified . . . by December 15, 2020” (ECF No. 85 at ¶

5), but Plaintiff’s Counsel’s letter dated December 22, 2020 (ECF No. 103) demonstrates that

Plaintiff’s Counsel did not meet that deadline;

       5.      The Court cannot discern from the record when or if Plaintiff’s Counsel complied

with Paragraphs 4 and 5 of the Court’s December 4 Order; and

       6.      The Court’s December 4 Order required Plaintiff’s Counsel to pay into the Court’s

registry a sanction of $50 per day for each day that he failed to comply with any of the deadlines in

the December 4 Order, but Plaintiff’s Counsel has not made any payments into the Court’s registry.

       Therefore, it is ORDERED as follows:

       1.      On or before April 13, 2021, Plaintiff’s Counsel shall file on the docket a certification

of the date(s) that that he complied with Paragraph 4 and Paragraph 5 of the Court’s December 4

Order; and

       2.      On or before April 15, 2021, Plaintiff’s Counsel shall make all required payments to

the Court’s registry.

                                                       BY THE COURT:


                                                       /s/ Joshua D. Wolson
                                                       JOSHUA D. WOLSON, J.




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